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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

(BOSTON)
KAREN L. BACCHI, Individually and on Civil Action No. 12-cv-11280-DJC
Behalf of all Persons Similarly Situated,
Plaintiffs,
e Ss =
‘ co; =
. oe mr rm
MASSACHUSETTS MUTUAL LIFE =o . 7
INSURANCE COMPANY, tg a aK
4 3 06°
Defendant. =o = mw
Cf = —
co ae oO
NOTICE OF APPEAL = ~~ =

Notice is hereby given that Class Member-Objector Francis Vitale appeals to the First
Circuit Court of Appeals from the Court’s Order of Final Approval of Class Settlement

(Document Entry No. 308) and Judgment (Document Entry No. 309), both entered in this action

on November 8, 2017.
DATED: Noy SO 2017
Respectfully Submitted,

WK

By: \WIN \ Fenweis \) TALE

* Vitale \- se)
Email: harborhill5O0@aol.com
1 Sagamore Hill Rd.

Oyster Bay, NY 11771
Telephone: (516) 640-8585

pro se party

 
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CERTIFICATE OF SERVICE
I hereby certify that on the 5$Q day of \jo\y _ 2017, I filed the foregoing with the
Clerk of the Court via U.S. First Class Mail as follows:

Clerk of the Court

U.S. District Court

District of Massachusetts

John Joseph Moakley U.S. Courthouse
One Courthouse Way, Suite 2300
Boston, MA 02210

I further certify that I served a true copy of the foregoing document via U.S. First Class
Mail to the following:

Jason B. Adkins

John Peter Zavez
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ZAVEZ, P.C.

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Bacchi v. Massachusetts Mutual Life Insurance Co.
Analytics LLC

Settlement Administrator
P.O. Box 2004

Chanhassen, MN 55317-2004

 

By:

 

Francis Vitale (Pro se)

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